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		OSCN Found Document:REVOCATION OF CREDENTIALS OF REGISTERED COURTROOM INTERPRETERS

					

				
  



				
					
					
						
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				REVOCATION OF CREDENTIALS OF REGISTERED COURTROOM INTERPRETERS2018 OK 38Decided: 05/07/2018THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2018 OK 38, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 



RE: Revocation of Credentials of Registered Courtroom Interpreters




ORDER


On February 15, 2018, this Court suspended the certificates of several Registered Courtroom Interpreters for failure to comply with the continuing education requirements for calendar year 2017 and/or with the annual certificate renewal requirements for 2018. See 2018 OK 29 (SCAD 2018-21).

The Oklahoma Board of Examiners of Certified Courtroom Interpreters has advised that the interpreters listed below continue to be delinquent in complying with the continuing education and/or annual certificate renewal requirements, and the Board has recommended to the Supreme Court of the State of Oklahoma the revocation of the credential of each of these interpreters, effective April 15, 2018, pursuant to 20 O.S., Chapter 23, App. II, Rules 18 and 20.

IT IS THEREFORE ORDERED that the credential of each of the Registered Courtroom Interpreters named below is hereby revoked effective April 15, 2018.

Maria Ferri-Haro
Maria LaMar
Mary McCormick
Sergio Torres

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 7th day of MAY, 2018.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.







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